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 5
 6   Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
14                                            EVIDENTIARY OBJECTION TO
               Plaintiff/Counter-Defendant,
15                                            DECLARATION OF MARK LEE
               vs.
16
17   INTERFOCUS, INC., a California           Date: August 16, 2021
     Corporation, et al.,                     Time: 10 a.m.
18              Defendant/Counter-Claimant
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                                             1
                     EVIDENTIARY OBJECTION TO DECLARATION OF MARK LEE
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 1                             EVIDENTIARY OBJECTIONS
 2
 3        MATERIAL OBJECTED TO                     GROUNDS FOR         COURT’S
 4                                                   OBJECTION         RULING
 5   1. I am a lawyer admitted to practice
 6   before this Court, and am a partner at                       Sustained: ____
 7   Rimon, P.C., counsel of record for
 8   Interfocus, Inc. d.b.a.
 9   www.patpat.com (“Interfocus”) in                             Overruled:____
10   this matter. I have personal
11   knowledge of the following facts
12   except where otherwise indicated
13   based on my personal participation
14   in the matters described, and if
15   called upon as a witness, I could and
16   would competently testify thereto.
17
     2. On June 4, 2021, I personally         irrelevant.
18
     searched the Westlaw database of                             Sustained: ____
19
     look for copyright infringement suits
20
     brought by Neman Brothers &
21
     Associates, Inc. The Westlaw                                 Overruled:____
22
     database includes various kinds of
23
     information, including information
24
     on complaints filed in the Central
25
     District of California. An online
26
     search of this Court’s Docket as
27
     recorded in the Westlaw database
28
     using the “Neman Brothers” and


                                            2
                    EVIDENTIARY OBJECTION TO DECLARATION OF MARK LEE
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 1   “copyright” search terms revealed 94
 2   such complaints. A true and correct
 3   copy of the listing I printed out from
 4   my search is attached as Exhibit 1.
 5
     3. After printing out Exhibit 1, I         irrelevant
 6
     manually reviewed over 20 of the                                     Sustained: ____
 7
     complaints, and briefly reviewed the
 8
     dockets of proceedings in the actions
 9
     initiated by those complaints. The                                   Overruled:____
10
     complaints and actions I reviewed all
11
     involved copyright infringement
12
     suits brought by Neman Brothers,
13
     which identified itself as a California
14
     corporation, against retailers or other
15
     defendants who were alleged to have
16
     infringed Neman Brothers’
17
     copyrights in fabric designs for
18
     goods manufactured in China. The
19
     dockets of the actions I reviewed
20
     indicated that they were all settled on
21
     confidential terms.
22
          IT IS SO ORDERED.
23
          DATED:
24
25                                             __________________________________
                                               Honorable Judge Christina A. Snyder
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                   EVIDENTIARY OBJECTION TO DECLARATION OF MARK LEE
